



 





THIS
  OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS
  PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals


  
    
      
        The State, Respondent,
        v.
        Moses L. Gates, Appellant.
      
    
  


Appeal From Calhoun County
  &nbsp;James C. Williams, Jr., Circuit Court
Judge

Unpublished Opinion No.&nbsp; 2009-UP-321
  Submitted May 1, 2009  Filed June 11,
2009

APPEAL DISMISSED


  
    
      
        Appellate Defender Joseph L. Savitz, III, of Columbia, for
          Appellant.
        Attorney General Henry Dargan McMaster, Chief Deputy Attorney
          General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott,
          of Columbia; and Solicitor David M. Pascoe, Jr., of Summerville, for Respondent.
      
    
  

PER CURIAM: Moses
  L. Gates appeals from his Alford plea for third degree arson, arguing the facts as stated at the plea hearing
  indicate he did not willfully commit a crime.&nbsp; After a thorough review of the record and counsel's brief, pursuant
  to Anders v. California, 386 U.S. 738 (1967) and State v. Williams,
  305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss the appeal and grant counsel's
  motion to be relieved.[1]
APPEAL
  DISMISSED.
HEARN, C.J., THOMAS, and KONDUROS, JJ.,
  concur.


[1] We decide this case without oral argument
  pursuant to Rule 215, SCACR.

